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TNW Williams, James Char]es
3. MAG. DKT.IDEF. NUMBER 4. I)IST. DKT.."DEF. NUMBER 5. APPEALS I)KTJDEF. NI.IMBER 6. O'I`IIER DKT. NUMBER
2:99-020208-002
7. IN CASE/MAT'!`ER ()F [Case Namei B. PAYMENT CATEGORY 9. TYI-‘I£ PERSON REPRESENTED 10. REPR.ESENTATION 'I`YPE
_ _ {See lnstructions) .f:`»
U.S. v. Willizims Felony Adult Defendant Supervised Releas§` ’? _
ll. OFFENSE(S) Cl{ARGED (Cite U.S. Code, Tille & Sectiott) I|’more than one oil`el\se, list (up to live) major ulTerises eharged, according to severity ot`olTense. ('{3\ ”'\/.e
l) 18 922G.F -» UNLAWFUL TRANSPORT/POSSESS/RECEIVE FIREARMS THROUGH INTERSTATE CQMl\/HZB¢€ ""lf-
12 ATTORNFY' S NAME (First Name, M. I., l.itst Nanie, including any sull'ixj 13. COURT ORDER %
AND MAILING ADDRESS § 0 Appoiriting Counsel l:] C Cu- Counsel ';"' 0 k .
LEF]:'¢'LER1 STEPHEN R_ U F Subs Fur red¢mi norman EJ it Subs rm- newman mng / ja l 14 ` §
',70°] Adams AV@ l:l l’ Snbs For Panel Attorney |:l Y Standby Counsel ` /(~{d.b' <) }, .O
MEWHIS TN 38105 i>rinr Aimmey's Name.- /f - f . §,- -
A__,_ " 'Date: {x,:_.{“,»; )
m Because the above-named person represented has testified under oath or has <:;;j,c; L;J ;.`
otherwise satistied this court that he o : linancin|ly unable tn employ counsel and '*33( C’} '~..J`
T¢-]Epho“c Numb‘.r, ill dMS rml W'lsh ' = the interests ofjustice so require, the »Z'p-
' ppointed to represent this person in this case,
14. NAME AND MA[LING ADDRESS OF LAW FIRM(on]_v provide per instructions) r
STEPHEN R. LEFFLER LAW OFFICE m '{"'“" lies '“s"““" ' - j M.\__,_,/`
;V(%E?lc?g?_lr-?SS AT\§“§§ 105 Sih,g|.\¢i‘e ol'Pr'esid'mg .li}d'ic'ia| Omcer or By Order of the Cuurt
nE/nR/?nnq
Date of C|rder Nuric Pro Tunc Date
Repayn\ent or partial repayment ordered from the person represented for this service at
time of appointmentl ES NO
-HLI“¢||IAN_'NJ» ' shielded wl
TOTAL MATH)TECH MATH!I`ECH
. . . . . . » HOURS ADDlTIONAL
CATP.GORII:.S (Attaclt itemization of services with dates) AMOUNT ADJUSTED ADJUSTED
CLA'MED CLAIMED nouRs AMOUNT REVIEW
15. a. Arraignment and/or Plea
b. Bail and Detention Hearings
c. Motion Hearings
I .
n d. Trial
C c. Seritencing I~learings
3 i. Revocation Hearings
f g. Appeals Court
li. Other (Specif y on additional slteets)
{Rate per hour = $ ) TOTALS:
16. a. Intcrviews and Conferenees
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C d. Travel time
3 e. Investigative and Otlier work cspeciry nn additional sham
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l (Rate per hour = $ ) TOTALS:
17. Tl'avel Expenses (lodging, parkiug, meals, mileage, etc.)
Othcl‘ Expenscs (otlier than c ert, transcripts, etc )
19. CERTIFICATION OF ATTORNEYIPAYEE F()R THE PERIOD OF SERVICE 20. APPOINTMENT TERMINATION DATE 21. CA SE DISPOSITION
iF OTHER THAN CASE COMPLET|ON
FROM 'I`()
22. CLA[M STATUS ij Final Paynient [I interim Payment Number l:l Suppleriienlal l’ayment
Have you previously applied to the court l’or compensation end/or remiliihulsement for this case'.' m YES l:l NO Ifyes. were you pald'.' m YES [_l NO
Other than from the court, have you, or to your knowledge has anyone else, received payment (compensatlon or anything or value) from any other source in connection with this
representation'.’ ij S NO Il' yes, give details on additional sheets.
l swear ar affirm the truth or correctness of the above statements
Signature of Attom Da|e:
23. IN COURT COMP. 24. OUT OF COURT COMP. 25. TRAVEL EXPENSES 26. OTHER EXPENSES 27. TUTAL AMT. APPRICERT
23. SIGNATURE OF 'I`HE PRESID!NG JUDIC|AL OFFlCER D.»\TE ISa. ,lUDGE/MAG. .IUDGE C()DE
29. lN COURT COMP. 30. OUT OF COUR'I` COMP. 31. TRAVEL EXPENSES 32. OTHER EXPENSES 33. TOTAL AMT. AI‘FROVED
34. SIGNATURE OF CliIEF JUDGE, COURT OF APPEALS (OR DELEGATE)Payment DATE 34a. jUI)GE CODE
appmved' in exee§ of l|ie statutory threshold amount.

 

 

 

 

 

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UNITED sTATESDTISRICT COURT - WETSER DI'S'TRICT oF ENNESSEE

   

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Honorable .1 on McCalla
US DISTRICT COURT

